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                                            4




   ROBERT EMERT
   Respondent, In Pro Per
   2351 VISTA LAGO TERRACE
   ESCONDIDO, CA 92029
                                                                     [ APR I 5 1015     I
                                                                  CLERK. U.S. DISTRICT COURT
   TELEPHONE: 760-612-9328                                     SOUTHERN,D.1$TRICT OF CALIFORNIA
   robeme1t@msn.com                                           BY.     l.\iv\JV           DEPUTY




                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF CALIFORNIA


                                                  3:24-cv-00671-JO-MSB


                                                  CORRECTED PROOF OF SERVICE



    Robert Eme1t                                  RELATED CASES:

                                                   Case No. 3:25-cv-00820-DMS-BLM
                   Plaintiff,
                                                   SCD297230 (SAN DIEGO SUPERIOR
          V.                                       COURT)
                                                   19FL010852N (SAN DIEGO FAMILY
                                                   COURT)
    San Diego Board of Supervisors, County of
    San Diego, DDA Balerio, DAI Luis Pena          Hearing Date: TBD
                                                   Time:         TBD
                   Defendants.                     Department: TBD
                                                   Judge: TBD



   I, Robert Emert, declare that on April 15, 2025, I seNed the following documents in both of
   the above-referenced federal cases as specifically detailed below:

   Documents Filed in Case No. 3:24-cv-00671-JO-MSB (§1983 Civil Rights Action) :

      1 . NOTICE OF LODGED EXHIBITS ON USB FLASH DRIVE
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      2. NOTICE OF RELATED CASE, MOTION TO INCORPORATE HABEAS EVIDENCE,
          MOTION FOR IMMEDIATE CHANGE OF VENUE TO DISTRICT OF ARIZONA, AND
          MOTION FOR EXPEDITED REVIEW
      3. USB FLASH DRIVE containing Exhibits A through Y as detailed in Notice of Lodged
          Documents

   Documents Filed in Case No. 3:25-cv-00820-DMS-BLM (Habeas Corpus Petition}:

       1. PETITION FOR WRIT OF HABEAS CORPUS WITH EXHIBITS
      2. NOTICE OF RELATED CASE AND MOTION TO CONSOLIDATE
       3. USB FLASH DRIVE containing Exhibits A through Y as detailed in Notice of Lodged
          Documents

   Specific Exhibit Index of USB Contents Served to All Parties:

   A. Emails with San Diego District Attorney (includes PC§ 1424 Motion detailing DA
   misconduct, collusion with Andrea Schuck, and ignored§ 278.7 defense)

    B. Bryce Emert affidavit

   C. Bryce Emert letters and emails

    D. Bryce Emert transcripts

    E. DAI Luis Pena call transcript (not disclosed to defense) containing admissions that
   "there's no reason for us to be here in criminal court" and statements about pressure from
   family court attorneys

    F. DOA Balerio transcript of inteNiew with Bryce Emert (suppressed exculpatory evidence}

    G. Jose Badillo call transcripts

    H. Andrea Schuck call transcripts

    I. FBI call transcript showing alleged "threat" was fabricated as basis for detention

    J. Emails showing no malice

    K. Email to DAI Pena regarding CPS inteNiew

    L. Email from DOJ forwarding complaint to FBI
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   M. Email offering DA to talk to Bryce anytime as Bryce has his own phone

   N. Email to DAI Pena regarding homeschool information

   0. Email to DAI Pena regarding handling in family court

   P. Documents regarding Commissioner Ratekin's loss of jurisdiction due to Peremptory
   challenge on February 9, 2021

   Q. Public corruption complaint filed with the Superior Court, DOJ, FBI, San Diego Board of
   Supervisors

   R. Rob Emert medical documents demonstrating STEMI heart attack on December 10,
   2024

   S. DOJ email that forwarded public corruption complaint to the FBI

   T. Comm. Patti Ratekin transcripts proving she was attempting to place Bryce in a facility
   with zero supporting evidence

    U. Additional Comm. Patti Ratekin Transcripts

   V. Court transcripts

   W . Emails corroborating that Andrea Schuck supported placing Bryce into a "facility"
   contrary to available evidence

    X. Amicable offers of 50/50 custody with both children going back and forth between
   homes as needed for their emotional wellbeing

   Y. Three Family Court Services reports recommending 50/50 custody

   Service was completed by electronic mail pursuant to FRCP 5(b){2)(E), CivLR 5.4, and the
   Court's COVID-19 protocols to the following parties:

   For §1983 Civil Rights Action (3:24-cv-00671-JO-MSB):

       •   Austin Uhler, Attorney for Defendants
    Email: Austin. Uhler@sdco unty.ca.gov
       •   San Diego County Counsel
    Email: county.co unsel@sdcounty.ca.gov
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   For Habeas Corpus Petition (3:25-cv-00820-DMS-BLM):

       •   California Attorney General's Office
   Email: d ocketingsdawt@doj. ca.gov, sdag.docketing@sdcounty.ca .gov
       •   Deputy Attorney General [Name of DAG assigned to your habeas case]
    Email: [their email address]

   Additional Interested Parties:

       •   San Diego County Probation Departm ent
   Email: probation.hr@sdco untv.ca.gov
       •   San Diego County District Attorney's Office
    Email: da .appellate@sdcda.o rg. sa ndiegodaprop65@sdcda.org
       •   San Diego Superior Court
   Email: appeals.centra l@sdcourt.ca.gov

   This Corrected Proof of Service is being filed in both cases to ensure all parties in both
   related matters have been properly served with all relevant documents. Due to the related
   nature of these cases and the overlapping evidence and constitutional claims,
   comprehensive service ensures all parties have notice of all filings .

   I declare under penalty of perjury under the laws of the United States that the foregoing is
   true and correct. Executed on April 15, 2025, at Escondido, CA.

   /s/ Robert Emert

    ROBERT EMERT

    Plaintiff/Petitioner, In Pro Per

    2351 Vista Lago Terrace

    Escondido, CA 92029

   Telephone: 760-61 2-9328

    Email: robemert@msn.com
